                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
v.                                                )       Criminal No. 3:10-00250
                                                  )       Judge Trauger
MATTHEW PAUL DEHART                               )

                                         ORDER

       The Defendant’s Motion to Allow Filing of Additional Motions And To Continue The

Motion Hearing Currently Set For September 21, 2012 For Thirty (30) Days (Docket No. 118) is

GRANTED. It is hereby ORDERED that the pretrial motion deadline is EXTENDED to

September 7, 2012 and the pretrial motion hearing is RESET for Friday, October 19, 2012, at

9:00 a.m.

       It is so ORDERED.

       ENTER this 4th day of September 2012.


                                                  ________________________________
                                                        ALETA A. TRAUGER
                                                          U.S. District Judge




 Case 3:10-cr-00250       Document 120       Filed 09/04/12     Page 1 of 1 PageID #: 643
